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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


RONALD HINTON,                               )
                                             )
                                             )
               Plaintiff,                    )       No. 15 C 10240
                                             )
                       v.                    )       Honorable Robert W. Gettleman
                                             )       Judge Presiding
MARCUS HARDY, et al.,                        )
                                             )
                                             )
               Defendants.                   )


  DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO
         DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

       Now come Defendants, Marcus Hardy, Troy Johnson, and Joel Dunmars, by and through

their attorney, Lisa Madigan, Illinois Attorney General, and respectfully submit a memorandum in

support of their Motion to Dismiss Plaintiff’s Second Amended Complaint, stating as follows:

                                     RELEVANT FACTS

       On January 31, 2017, Plaintiff filed a Second Amended Complaint (SAC). (Doc. No. 54.)

In his Second Amended Complaint, Plaintiff alleges that he sued Defendants Hardy and Johnson

in their individual capacities and alleges that he sued Defendant Dunmars in his official capacity.

(SAC ¶¶ 4-6.) Plaintiff claims that while incarcerated at Stateville Correctional Center, he was

confined to the top bunk bed in cell unit B-825, a six by ten foot cell, for twenty-three hours per

day. (SAC ¶¶ 9-10.) Plaintiff also claims that there were two bolts protruding from the wall in

cell unit B-825 where a shelf had been removed by Illinois Department of Corrections personnel.

(SAC ¶¶ 11-12.) The exposed bolts existed for over nine months and Plaintiff suffered relatively

minor injuries on multiple occasions. (SAC ¶¶ 13-14.) Plaintiff alleges that he made numerous
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verbal complaints to all Defendants. (SAC ¶ 15.) With respect to Defendant Hardy, Plaintiff

alleges that he filed two emergency grievances, he spoke to Defendant Hardy about his prior

injuries on three occasions, and he sent Defendant Hardy a letter regarding the condition. (SAC ¶

16.) As to Defendant Johnson, Plaintiff alleges that he spoke to Defendant Johnson and wrote a

letter to Defendant Johnson regarding the condition. (SAC ¶ 16.) Regarding Defendant Dunmars,

Plaintiff alleges that he told Defendant Dunmars verbally and wrote a letter to Defendant Dunmars

about the condition. (SAC ¶¶ 21-22.) Plaintiff claims that on March 20, 2013, while exiting his

assigned bunk bed, he fell forward and his right eye made direct contact with a protruding bolt.

(SAC ¶ 26.)      Plaintiff alleges that he endured significant medical treatment and surgical

intervention due to his right eye injury. (SAC ¶ 27.) Plaintiff claims that Defendant Hardy (Count

I) and Defendant Johnson (Count II and Count III) acted with deliberate indifference to the

protruding bolts which were “a dangerous condition posing a significant risk of harm,” thus

violating Plaintiff’s constitutional rights. (SAC ¶¶ 29-37.)

                                           STANDARD

       A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) does not test

whether the plaintiff will prevail on the merits but instead whether the claimant has properly stated

a claim. See Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). A pleading must contain a “short and

plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

Detailed factual allegations are not required, but a plaintiff’s complaint may not merely state an

“unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the

elements of a cause of action will not do.’” Id.
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         A plaintiff’s complaint must contain allegations that “state a claim to relief that is plausible

on its face.” Iqbal, at 663, citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). “A

claim has facial plausibility when the pleaded factual content allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, at 663. In

reviewing the sufficiency of a complaint under this standard, the court must accept as true all well-

pleaded factual allegations. McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir. 2011).

However, legal conclusions and “conclusory allegations merely reciting the elements of the claim

are not entitled to this presumption of truth.” Id.

                                             ARGUMENT

  I.     The Eleventh Amendment Provides Defendant Dunmars with Immunity From Suit.

         Plaintiff seeks monetary relief only stemming, in part, from his allegations against

Defendant Dunmars although his Second Amended Complaint clearly states that he sued

Defendant Dunmars in his official capacity. (SAC ¶ 6 & p. 7.)

         A suit against a defendant acting in his or her official capacity is effectively a suit against

the state itself. Brandon v. Holt, 469 U.S. 464, 471-72 (1985). A state is not a “person” subject

to suit under 42 U.S.C. § 1983. Arizonians for Official English v. Arizona, 520 U.S. 43, 69 (1997);

Powers v. Summers, 226 F.3d 815, 818 (7th Cir. 2000). Additionally, the Eleventh Amendment

generally bars suits in federal court against state officials in their official capacities when the state

is the real party in interest. Sonnleitner v. York, 304 F.3d 704, 717 (7th Cir. 2002). “When the

action is in essence one for the recovery of money from the state, the state is the real, substantial

party in interest and is entitled to invoke its sovereign immunity from suit even though individual

officials are nominal defendants.” Edelman v. Jordan, 415 U.S. 651, 663 (1974) (internal

quotation omitted).
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         The United States Supreme Court has unequivocally held that an unconsenting state cannot

be sued in federal court unless Congress has chosen to override the Eleventh Amendment through

legislation pursuant to its power under section five of the Fourteenth Amendment. Pennhurst v.

Halderman, 465 U.S. 89, 100-01 (1984); see also Fitzpatrick v. Bitzer, 427 U.S. 445, 456 (1976).

Courts recognize another exception to this rule where the plaintiff alleges a constitutional violation

and seeks injunctive relief against a state official acting in his official capacity. American Soc. of

Consultant Pharmacists v. Patla, 138 F.Supp.2d 1062, 1068 (N.D. Ill. 2001) (citing Papasan v.

Allian, 478 U.S. 265, 276-78 (1986). However, this exception does not permit suits for monetary

relief against state officials. Edelman, 415 U.S. at 664-67. In other words, courts can tell a state

official to comply with federal standards in the future; however, federal courts cannot tell a state

official to use state funds to make reparation for the past. Edelman, 412 U.S. at 664-65 (citing

Rothstein v. Wyman, 467 F.2d 226 (2d Cir. 1972)).

         In this case, Plaintiff’s Second Amended Complaint clearly states that Defendant Dunmars

is sued in his official capacity. (SAC ¶ 6.) Defendant Dunmars is an employee of the State of

Illinois, therefore, the claims against Defendant Dunmars are barred by the Eleventh Amendment.

Accordingly, the claims against Defendant Dunmars should be dismissed with prejudice.

 II.     Plaintiff Fails to State a Claim For Deliberate Indifference Against Defendants.

         The Eighth Amendment prohibition on cruel and unusual punishment forbids unnecessary

and wanton infliction of pain, and punishment grossly disproportionate to the severity of the crime.

Rhodes v. Chapman, 452 U.S. 337, 346 (1981) (quoting Gregg v. Georgia, 428 U.S. 153, 173

(1976)). Prison conditions that deprive inmates of basic human needs such as food, medical care,

sanitation, or physical safety, may violate the Eighth Amendment. Rhodes, 452 U.S. at 346; see

also James v. Milwaukee Cnty., 956 F.2d 696, 699 (7th Cir. 1992).
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        In order to prevail on a conditions claim, a plaintiff must allege facts that, if true, would

satisfy the objective and subjective components applicable to all Eighth Amendment claims.

McNeil v. Lane, 16 F.3d 123, 124 (7th Cir. 1994); see also Farmer v. Brennan, 511 U.S. 825, 837

(1994); Wilson v. Seiter, 501 U.S. 294, 302 (1991). In other words, the condition, viewed

objectively, must present an excessive risk to physical safety.                The subjective deliberate

indifference standard is satisfied if the plaintiff shows that the prison official acted or failed to act

despite the official’s knowledge of a substantial risk of serious harm.1 Farmer, 511 U.S. at 842.

Mere negligence, however, will not lead to liability in a Section 1983 case. Daniels v. Williams,

474 U.S. 327, 328 (1986).

        With respect to the objective component of the deliberate indifference test, where prison

inmates have sustained some injury caused by a dangerous condition on the premises, courts have

generally found that such conditions were not objectively serious enough to implicate the Eighth

Amendment. See, e.g., Christopher v. Buss, 384 F.3d 879, 881-83 (7th Cir. 2004) (inmate injured

by softball that bounced off hazardous protrusion on field was not exposed to a sufficiently serious

objective risk to his safety); Carroll v. DeTella, 255 F.3d 470, 472 (7th Cir. 2001) (“[F]ailing to

provide a maximally safe environment, one completely free from ... safety hazards, is not [a

constitutional violation].”); Bair v. Grounds, No. 11–cv–718–MJR, 2012 WL 3261366 (S.D. Ill.

Aug. 8, 2012) (dangerous gym floor did not pose excessive risk to health or safety; Eighth

Amendment claim dismissed under § 1915A).

        In the case at bar, Plaintiff alleges there were two bolts that protruded from the wall of his

cell on which he sustained minor injuries until March 20, 2013, when he allegedly sustained a



1
 For purposes of this FRCP 12(b)(6) motion alone, Defendants do not address the subjective component of
the deliberate indifference test. Defendants deny that Plaintiff has properly alleged either component of the
deliberate indifference test.
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serious injury to his right eye. (SAC ¶¶ 11, 14, 26.) Based on the above case law, Defendants

assert that the protruding bolts are not objectively serious enough to implicate the Eighth

Amendment. As the Seventh Circuit observed, “[a]n objectively ‘sufficiently serious’ risk ... is

one that society considers so grave that to expose any unwilling individual to it would offend

contemporary standards of decency [such as] the acute risks posed by exposure to raw sewage, or

inordinate levels of environmental tobacco smoke, or amputation from operating obviously

dangerous machinery, or potential attacks by other inmates....” Christopher v. Buss, 384 F.3d 879,

882 (7th Cir. 2004) (internal citations omitted). Two bolts protruding from a cell wall is not the

type of condition that society would consider “so grave that to expose any unwilling individual to

it would offend contemporary standards of decency.” See id.

       Although the bolts could possibly present some danger of harm, taking Plaintiff’s

allegations as true for the sake of the instant motion, the risk of poorly maintained shelving

hardware in a prison cell is not one that today’s society chooses not to tolerate. See Helling v.

McKinney, 509 U.S. 25, 35-36 (1993). Rather, it is the type of risk many encounter voluntarily in

their daily lives. The fact that it was many months before Plaintiff suffered a severe injury, shows

that Plaintiff was not in imminent danger when he was confined to cell B-825. Plaintiff’s

allegation that he was placed in a cell with protruding bolts is not sufficient to properly allege an

excessive risk to Plaintiff’s health and safety or a denial of the minimal civilized measure of life’s

necessities.

       For the reasons stated above, and because Plaintiff’s Second Amended Complaint does not

contain a Count for deliberate indifference against Defendant Dunmars, Plaintiff’s deliberate

indifference claims against all Defendants should be dismissed with prejudice.
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                                          CONCLUSION

       Plaintiff’s claims against Defendant Dunmars are barred by the Eleventh Amendment

which prohibits claims against state actors in their official capacities for monetary relief. Further,

Plaintiff has failed to adequately and plausibly allege a claim against all Defendants in that Plaintiff

has failed to state a deliberate indifference claim against them.

       Wherefore, for the reasons stated above, Defendants Marcus Hardy, Troy Johnson, and

Joel Dunmars, respectfully request that the Court dismiss the claims against them in Plaintiff’s

Second Amended Complaint, and grant such other relief as the Court finds reasonable and just.



                                                               Respectfully submitted,
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on February 14, 2017, she electronically filed the foregoing
document with the Clerk of the Court for the United States District Court for the Northern District
of Illinois using the CM/ECF system. Participants in the case are registered CM/ECF users and
will be served by the CM/ECF system.

                                             /s/ Deborah J. Baker
